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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JARED CARTY, et al.                          :       CIVIL ACTION
                                             :
      v.                                     :
                                             :
STEEM MONSTERS CORP. d/b/a                   :
SPLINTERLANDS, et al.                        :       NO. 20-5585


                                             ORDER

       AND NOW, this day 17th day of March, 2022, upon consideration of Plaintiffs’ Counsel

Motion to Withdraw (Doc. No. 45), IT IS HEREBY ORDERED that a Remote Hearing shall be

held on Friday, April 1, 2022, at 9:30 a.m. Plaintiffs and all counsel are required to attend.

Counsel will be provided the Zoom information prior to the hearing.



                                             BY THE COURT:


                                             /s/ ELIZABETH T. HEY

                                             ELIZABETH T. HEY, U.S.M.J.
